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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                          ORLANDO DIVISION


AMANDA & ERIK SCHIERER,

                          Plaintiffs,

v.                                            Case No. : 8:17-cv-03078-VMC-AEP


SYNCHRONY BANK &
ALLIED INTERSTATE, LLC,

                          Defendants.

______________________________________

 JOINT STIPULATION TO ARBITRATE CLAIMS AND STAY LAWSUIT

      Plaintiffs    Amanda and Erik Schierer (“Plaintiffs”) and Defendants

Synchrony    Bank    (“Synchrony”)      and   Allied   Interstate,   LLC   (“Allied”)

(collectively, “the Parties”), by and through their undersigned counsel, hereby

submit this Joint Stipulation to Arbitrate Claims and Stay Lawsuit, stating as

follows:

      1.     The Parties have agreed to submit all of the claims in this lawsuit to

arbitration pursuant to the Parties’ arbitration agreement. The arbitration shall be

conducted through and in accordance with the rules of JAMS.

      2.     The Parties therefore respectfully request that (a) this Court order that
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all of the claims in this lawsuit be submitted to binding, non-judicial arbitration

pursuant to the Parties’ arbitration agreement, and (b) that the case be stayed

pending arbitration.




Dated: February 7, 2018                      Respectfully submitted,


      /s/ Jon P. Dubbeld, Esq.                     /s/ Brandon T. White, Esq.
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 Attorneys for Plaintiffs                    Attorneys for Defendant




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                       CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on this 7th day of February, 2018, I caused

the foregoing to be electronically filed with the Clerk of the Court by using

CM/ECF system, which will send a notice of electronic filing to all counsel of

record.

                                               /s/ Brandon T. White

                                         Brandon T. White, Esq.




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